               United States Court of Appeals
                                 For the First Circuit
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No. 24-1094
                  RICHARD SIMMON-ROMÁN; SIGFREDO SANTANA,

                                     Plaintiffs - Appellants,

                                               v.

                              ROSA ILEANA CRUZ-BURGOS,

                                     Defendant - Appellee,

  GYNECOLOGY REPRODUCTIVE ENDOCRINOLOGY AND FERTILITY INSTITUTE;
        ABC INSURANCE COMPANIES; DEF INSURANCE COMPANIES,

                                       Defendants.
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                                         JUDGMENT

                                    Entered: May 20, 2024
                                 Pursuant to 1st Cir. R. 27.0(d)

       Upon consideration of Appellants' unopposed motion, it is hereby ordered that this appeal
be voluntarily dismissed pursuant to Fed. R. App. P. 42(b)(2).

       Mandate to issue forthwith.


                                             By the Court:

                                             Maria R. Hamilton, Clerk



cc:
Fredeswin Pérez-Caballero
Jeannette M. López de Victoria
Roberto E. Ruiz-Comas
